   Case 17-11697                Doc 95          Filed 03/30/18 Entered 03/30/18 15:45:12                                    Desc Main
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